785 F.2d 308
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.GARY LEE HALE, Plaintiff-Appellant,v.DISTRICT MANAGER, ROBERT FLEMINGER, FOR THE SOCIAL SECURITYADMINISTRATION, AND THE DISTRICT MANAGER, FOR THE UNITEDSTATES SOCIAL SECURITY ADMINISTRATION, DEPARTMENT OFDISBURSEMENT AND HUMAN SERVICES AND WELFARE, BALTIMORE,MARYLAND, Defendants-Appellees.
    81-1676
    United States Court of Appeals, Sixth Circuit.
    1/10/86
    
      ORDER
      BEFORE:  MERRITT, JONES and WELLFORD, Circuit Judges.
    
    
      1
      This appeal has been referred to this panel pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      It appears from the district court record that appellant has appealed from an order denying a motion for appointment of counsel in this civil rights action.  Such an order is not a final decision pursuant to 28 U.S.C. Sec. 1291 from which an appeal can be taken.  Henry v. Detroit Manpower, 763 F.2d 757 (6th Cir.)  (en banc), cert. denied, ---- U.S. ---- (December 16, 1985).  Therefore, this Court is without jurisdiction to entertain the appeal.
    
    
      3
      It is ORDERED that the appeal be and hereby is dismissed.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    